         Case 1:08-cr-00026-DLH          Document 66       Filed 10/22/08      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,           )
                                    )
              Plaintiff,            )     ORDER
                                    )
      vs.                           )
                                    )
Michael L. Fisher, et. al.,         )     Case No. 1:08-cv-026
                                    )
              Defendants.           )
______________________________________________________________________________

         On October 20, 2008, the Bluegrass Community and Technical College’s records custodian

filed a Motion to Amend Subpoena pursuant to Rule 45(c)(3)(ii) of the Federal Rules of Civil

Procedure. The court shall construe this as a Motion to Quash pursuant to Rule 17(c)(2) of the

Federal Rules of Criminal Procedure as this is a criminal matter and the rule cited by the records

custodian is inapplicable.

         The Government presumably intends to call the records custodian, who is not a party to this

action, to establish foundation for records it will move to admit into evidence at trial. The parties

may ultimately stipulate to foundation, obviating the need for the records custodian to appear at

trial.   However, in the absence of any such stipulation, the court is not inclined to quash the

Government’s subpoena. The records custodian’s motion (Docket No. 63) is therefore DENIED

without prejudice.

         IT IS SO ORDERED.

         Dated this 22nd day of October, 2008.


                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr.
                                              United States Magistrate Judge
